
644 S.E.2d 560 (2007)
STATE of North Carolina
v.
Joey Duane SCOTT.
No. 16P07.
Supreme Court of North Carolina. Eighteenth District.
March 8, 2007.
D. Tucker Charns, Durham, for Scott.
Anita LeVeaux, Assistant Attorney General, R. Stuart Albright, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 11th day of January 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
